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                               EXHIBIT F
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                                                                             Page 1

 1                    IN THE UNITED STATES DISTRICT COURT

 2                    FOR THE WESTERN DISTRICT OF VIRGINIA

 3        ______________________________________________________

 4        BABY DOE, et al.,

 5                                    Plaintiffs,

 6        v.                                     Civil Action No.

 7                                               3:22cv00049-NKM-JCH

 8        JOSHUA MAST, et al.,

 9                                    Defendants.

          ______________________________________________________

10

11

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13

14                           Video-recorded Deposition of

15                                    JONATHAN MAST

16                               Monday, July 17, 2023

17                                        9:33 a.m.

18                               Charlottesville, Virginia

19

20

21

22

23

24                         Reported by:       Mark E. Brown, RPR

25

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 1             Q         Do you have any automatic delete settings

 2        activated on your Signal account?

 3             A         Currently, no.

 4             Q         Have you previously?

 5             A         I have.

 6             Q         Give me the details on that, please.

 7             A         Well, Signal is an app that allows you to

 8        have automatic deleting stuff and so I've had that as

 9        a routine on most of -- most of my messages that I

10        use on Signal, I've had that as a normal thing.

11             Q         Is that feature activated now?

12             A         No, sir.      Once I got this I stopped them.

13             Q         You anticipated my question.             So before you

14        got the cease and desist letter, am I understanding

15        you to say that your Signal account had activated the

16        auto delete function?

17             A         Many of them, yes.

18             Q         Did you do it on an email-by-email basis or

19        did you just activate the setting and then it

20        operates automatically?

21             A         In Signal?

22             Q         Yes.

23             A         I operated the setting and it operated

24        automatically.

25             Q         So you just toggle it on or toggle it off

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 1        and once you turn it on it's on for all incoming and

 2        outgoing messages?

 3             A         For a particular thread.            I think you can

 4        select like certain threads.              If I had a message with

 5        Elliott, for instance, I can syphon that one to

 6        retain stuff and other ones not to.

 7             Q         So then because the auto delete function on

 8        your Signal account was active before you received

 9        the cease and desist letter, there would be a number

10        of communications from you and to you on Signal that

11        are no longer available; isn't that right?

12             A         That would be correct, yes, sir.

13             Q         Can you -- would these include

14        communications with your brother Joshua?

15             A         Yeah.

16             Q         And Richard?

17             A         Yeah.

18             Q         How about Stephanie?

19             A         No.     I don't think I've ever sent anything

20        to Stephanie on Signal.

21             Q         Would these communications with Joshua and

22        Richard that are no longer available because of the

23        auto delete function, were they relating to this

24        case?

25             A         No.     Not as far as -- as far as the case,

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 1             A         Correct.

 2             Q         Did you communicate over Signal with your

 3        brother this year regarding his communication with

 4        the Pipe Hitter Foundation?

 5             A         I don't think so.         Not written anyway.         I

 6        might have called him on Signal because you can call

 7        as well.       I might have called him on Signal but I

 8        don't think I wrote anything about that.

 9             Q         So when you place a call over Signal how is

10        that stored?

11             A         I don't know if it is.           Just like a regular

12        phone, I think.          I don't know if it is stored or not.

13        It's just a call.

14             Q         Is there any record of the calls having

15        been made?

16             A         The dates show up when you like -- I'm not

17        an expert on Signal but when you go back into the app

18        and open it up, you can see like the date that you

19        called like you would with a regular phone.

20             Q         The same way on your outgoing calls on an

21        iPhone?

22             A         Yes.

23             Q         Your recent calls, incoming and outgoing?

24             A         I believe so.

25             Q         But does Signal capture the content of the

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 1                A       Well, gmail is an email, Signal is like a
 2         text, so typically it's just easier to send a text
 3         than to send an email.
 4                Q       So with Mr. Elliker's cease and desist
 5         letter, the protective order was attached, was it
 6         not?       You will see it as an attachment to Exhibit 2.
 7                A       Yes, sir.
 8                        MR. POWELL:        Let's mark this number 3,
 9         please.
10                        (Mast Deposition Exhibit No. 3 was marked
11                        for identification and attached to the
12                        transcript.)
13         BY MR. POWELL:
14                Q       Mr. Mast, the court reporter has just
15         handed you a copy of Exhibit 3 for your deposition.
16         I will just identify it for the record.                     It's a copy
17         of the protective order that Judge Moon entered in
18         this case on September the 13th of last year.
19                        Did you see that when you received Mr.
20         Elliker's letter?
21                A       I did.
22                Q       Did you read it?
23                A       I did.
24                Q       Did you understand it?
25                A       I believe so.         Yes, sir.

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 1             Q         Did you understand that the purpose of

 2        Judge Moon's protective order was to protect the

 3        identity of John Doe, Jane Doe and Baby Doe?

 4             A         Yes, sir.

 5             Q         Had you ever seen the protective order

 6        before you received it from Mr. Elliker?

 7             A         I believe I may have stumbled across it

 8        when I was looking through documents regarding the

 9        case online, yes.

10             Q         Do you recall how it came into your

11        possession?

12             A         Yeah.     I went to Google and I was trying to

13        find information regarding the case and I eventually

14        found CourtListener which is -- I'm not exactly sure

15        how that exists or what it's relation is to the

16        actual case files but I found a lot of the

17        information on there.

18             Q         Including the protective order?

19             A         I think so.

20             Q         Why would you go to Google or CourtListener

21        to learn about what had been filed in the case rather

22        than going to your brother Joshua?

23             A         Well, I was looking for the actual

24        hard-copies to try to be -- basically to try to see

25        the actual evidence myself.

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 1        fact -- I knew they did the CBS interviews and I knew

 2        there was -- like the judge had asked them not to

 3        talk to the media anymore but I didn't know there was

 4        a motion to hold them in contempt of court or

 5        whatever that proper term is.

 6               Q         So your testimony is that your brother

 7        Joshua and his wife Stephanie having been asked by us

 8        to be held in contempt by the court, they didn't

 9        share that with you, is that your testimony?

10               A         If they shared it with me, I definitely

11        don't remember hearing that but I don't believe they

12        did.

13               Q         I think we've established this, Mr. Mast,

14        but let's go back to it.

15                         Did I understand you to say earlier that

16        you became aware at some point in early 2023 that

17        your brother Joshua was in touch with an outfit

18        called the Pipe Hitter Foundation?

19               A         Yes, sir.

20               Q         How did you learn of this?

21               A         Let's see.       I received a call from Dena

22        Cruden, I think is how you say her last name,

23        C-r-u-d-a-n (sic), and she informed me she talked to

24        my brother Joshua and it went on from there.

25               Q         Am I understanding you to say that you were

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 1        unaware of your brother Joshua's contacts with the

 2        Pipe Hitter Foundation until you received a call from

 3        Dena Cruden?

 4             A         No, sir.      To clarify, my brother Joshua had

 5        -- I think he had called me and said that I might get

 6        a call from someone named Dena Cruden and that was

 7        about it.

 8             Q         Do you recall how far in advance of your

 9        contact from Dena Cruden that you learned this from

10        your brother?

11             A         A day maybe.

12             Q         That close?

13             A         Yes, sir.

14             Q         And tell me about the conversation with

15        Joshua about his expectation that Dena Cruden was

16        going to contact you.

17             A         This was a while ago.           I think I was

18        actually fishing when I got the call.                  As far as the

19        details go, I think he called and basically said that

20        he had -- I don't remember what term he used but like

21        had made contact or had been contacted by Pipe Hitter

22        Foundation, told me that they help vets and first

23        responders raise funds for legal defenses but that he

24        couldn't work with them and that he had given them my

25        number to see if I wanted to.

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  1                       MR. HARDING:       Objection.       Calls --

  2                       MR. POWELL:       Let me finish my question,

  3        please.

  4        BY MR. POWELL:

  5             Q         Didn't he tell you that we had moved for

  6        contempt because of Joshua and Stephanie's interview

  7        on CBS?

  8             A         Absolutely not.

  9             Q         He said nothing to you about the contempt

 10        motion that we filed in January, is that your

 11        testimony?

 12             A         Yes, sir.

 13             Q         Did Joshua say anything to you about a gag

 14        order that he thought he might be subject to?                        Again,

 15        this is before you had any contact with the Pipe

 16        Hitter Foundation.

 17             A         And state the question again.

 18             Q         When you spoke to Joshua before you spoke

 19        to Dena Cruden or had contact with Dena Cruden, did

 20        Joshua say that he thought he was subject to a gag

 21        order?

 22             A         To be more specific, he didn't mention on

 23        the call about -- well, he had mentioned at some

 24        point that there was a gag order in effect and so

 25        that he wasn't -- I didn't know the specifics of what

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  1        that meant but he had mentioned at some point before,

  2        I'm not sure if it was that call or prior to that,

  3        but there was a gag order in effect for at least one

  4        of the court cases.

  5             Q         Are those the words he used, gag order?

  6             A         We have used that and protective order

  7        interchangeably, yeah.

  8             Q         So when is the first time you heard

  9        Jonathan (sic) -- I'm sorry -- Joshua talk about a

 10        protective order?

 11             A         I don't know.

 12             Q         Was it before or after this call you had

 13        from him that he was going to hear from the Pipe

 14        Hitter Foundation?

 15             A         The first time that I heard about it was it

 16        before that call?          Probably before, yeah.

 17             Q         That there was a protective order in place,

 18        you heard that from Joshua before he asked you to

 19        speak to the Pipe Hitter Foundation?

 20                       MR. HARDING:       I'm going to object to the

 21        framing of the question.             He didn't state that he was

 22        told to talk to Pipe Hitter.              He stated that he would

 23        receive a call from the Pipe Hitter Foundation.

 24        BY MR. POWELL:

 25             Q         When Joshua advised you that you were going

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  1        to be contacted by the Pipe Hitter Foundation, you

  2        could have declined, right?

  3             A         Sure.

  4             Q         Why did you not?

  5             A         Didn't want to.

  6             Q         Why?    I know that you didn't want to

  7        because you did have contact with them, but why did

  8        you not decline Joshua's request?

  9                       MR. HARDING:       Objection to Joshua having

 10        made a request for him to speak.                The testimony was

 11        that he was notified that he may receive a call from

 12        the Pipe Hitter Foundation.

 13                       MR. POWELL:       That's a fair objection.

 14        BY MR. POWELL:

 15             Q         Joshua said you were going to be contacted

 16        by someone from the Pipe Hitter Foundation, right?

 17             A         Yes, sir.

 18             Q         And did he identify Dena Cruden by name?

 19             A         By first name, I think.

 20             Q         And then very soon after that conversation

 21        with Joshua you received a text message from Dena

 22        Cruden, right?

 23             A         It was either text or a call.

 24             Q         Asking for your cooperation, right?

 25             A         No, not asking for my cooperation.               I think

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  1        she asked if I would be willing to share some of the
  2        story.
  3             Q       And what did you say?
  4             A       I said I would be willing to.
  5                     MR. POWELL:         Let's mark this next, please.
  6                     (Mast Deposition Exhibit No. 5 was marked
  7                     for identification and attached to the
  8                     transcript.)
  9        BY MR. POWELL:
10              Q       Mr. Mast, you've been handed Exhibit 5
11         which I will identify as being a May 9, 2023 email
12         from Dena Cruden at Pipe Hitter Foundation to you.
13         The header is "Pipe Hitter Foundation: Fundraising
14         Campaign Implementation."              Do you see that?
15              A       Yes, sir.
16              Q       Do you recall receiving this from
17         Ms. Cruden on or about that day, May the 9th?
18              A       I do.
19              Q       And attached to her email is the Pipe
20         Hitter Foundation grant agreement, correct?
21              A       Uh-huh.
22              Q       And if you look to the last page of the
23         grant agreement, which is the third page of the
24         exhibit, that's your signature, right?
25              A       It is.

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  1               Q         And you signed this contract on May the

  2        10th of 2023?

  3               A         Yes, sir.

  4               Q         By this point in time did you understand

  5        that Ms. Cruden, as represented on the email, was the

  6        executive director of the Pipe Hitter Foundation?

  7               A         I couldn't tell you her direct title but

  8        yes.

  9               Q         And you see there that's the way she

 10        identified herself in the email, right?

 11               A         Yes, sir.

 12               Q         You don't have any reason to disagree with

 13        that?

 14               A         No, I do not.

 15               Q         By then you had already been in

 16        intermittent contact with her since her first contact

 17        with you, right?

 18               A         Yes, sir, intermittently.

 19               Q         Before you signed this grant agreement, did

 20        you send it to Joshua?

 21               A         I don't think so.

 22               Q         Were you aware of whether the Pipe Hitter

 23        Foundation had shared it with Joshua before you were

 24        asked to sign it?

 25               A         No, I don't believe so.

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  1             A         Yes, I understand that.

  2             Q         It identifies the grantees as Joshua Mast

  3        and his family, right?

  4             A         Sure.

  5             Q         And you signed on their behalf, correct?

  6                       MR. FRANCISCO:        Objection.      Calls for legal

  7        conclusion.

  8                       MR. YERUSHALMI:          David Yerushalmi.       I join

  9        the objection.

 10                       MR. HARDING:       I'm joining that as well.

 11                       MR. POWELL:       For the benefit of the record,

 12        counsel in the room and online, I like

 13        Mr. Francisco's proposal that you need not adopt an

 14        objection posed by either the witness's lawyer or any

 15        of the other Defendants' lawyers.                I think we can --

 16        the record can reflect that I have heard the

 17        objection and I will deem it as having been raised by

 18        all of you, not just whoever speaks.                 Fair enough,

 19        everybody?        Any objection to that?

 20                       MR. HARDING:       No.

 21                       MR. YERUSHALMI:          None from David

 22        Yerushalmi.

 23                       MR. HOERNLEIN:        No objection.

 24        BY MR. POWELL:

 25             Q         So the purpose of this grant agreement, as

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  1        you understood it, Mr. Mast, was to enable the Pipe

  2        Hitter Foundation to provide financial assistance to

  3        your brother Joshua, right?

  4             A         That's accurate.

  5             Q         And you signed on his behalf in order to

  6        facilitate that arrangement, right?

  7             A         Well, if I can change my wording or to

  8        clarify the question before I say yes or no, I didn't

  9        look at it as signing on his behalf.                 I was going to

 10        partner with Pipe Hitter Foundation to raise funds

 11        and then distribute that to my brother, so signing

 12        this on his behalf, that's what I mean by that.

 13             Q         Sure.     Because the money wasn't going to

 14        come for your benefit, was it?

 15             A         No.

 16             Q         Or your family's benefit, right?

 17             A         Correct.

 18             Q         It was going to be for the benefit of the

 19        people identified on the first page of this document

 20        as the grantees, right?

 21                       MR. HARDING:       I'm going to object.          I think

 22        the document speaks for itself.                It says the grantees

 23        are Mr. Mast and his family.              My client is part of

 24        his family.

 25        BY MR. POWELL:

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  1             Q         Who did you -- look at the first and second

  2        line of this contract, please, Mr. Mast.

  3             A         Sure.

  4             Q         The first sentence says, "The Pipe Hitter

  5        Foundation is implementing a fundraising campaign in

  6        support of Joshua Mast and his family, paren,

  7        grantees, close paren, under the PHF's hardship and

  8        legal defense grant program, paren/close paren."                     Do

  9        you see that?

 10             A         Yes, sir.

 11             Q         Did you expect that any money raised

 12        pursuant to this agreement would go to anybody other

 13        than Joshua Mast and his immediate family?

 14             A         To be accurate, all the money came to me

 15        and then they entrusted me to distribute that.

 16             Q         Understood.       Did you understand that this

 17        agreement allowed you to distribute the funds to

 18        anybody other than Joshua Mast and his immediate

 19        family?

 20             A         Did I understand that this agreement

 21        allowed me to distribute the funds to anyone other

 22        than Joshua Mast and his family.                That is my

 23        understanding.

 24             Q         And of the funds that came to you did you

 25        distribute all of them to Joshua?

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  1             A         I did.

  2             Q         Did you keep any of them?

  3             A         Well, no essentially.           I forwarded my

  4        brother once during a particular month that he was

  5        having a hard time keeping up with something and I

  6        loaned him a thousand and then reimbursed myself a

  7        thousand from Pipe Hitter after that.

  8             Q         To be clear, you didn't send any of the

  9        Pipe Hitter Foundation's money to anybody other than

 10        Joshua and his immediate family, right?

 11             A         That is accurate.

 12             Q         And you understood that was the purpose

 13        when you signed this document -- this contract on May

 14        the 10th, correct?

 15             A         Yes, sir.

 16             Q         And you were acting as Joshua's and his

 17        family's representative when you signed this

 18        document, right?

 19                       MR. FRANCISCO:        Objection.      Calls for a

 20        legal conclusion.

 21                       MR. YERUSHALMI:        Objection.

 22        BY MR. POWELL:

 23             Q         Go ahead.      You can answer.

 24             A         By representative I don't mean like legal

 25        representative or that he had authorized me to or had

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  1        argumentative.         Go ahead.

  2                       THE WITNESS:       Well, I will finish what I

  3        was saying.        I just want him to know what I believe

  4        is the truth and that's exactly what I just said.

  5                       I signed this document for myself and they

  6        were entrusting me with the funds to distribute to my

  7        brother for help regarding legal fees, immediate

  8        needs and stuff like that.

  9        BY MR. POWELL:

 10             Q         You were expecting to be the intermediary

 11        then between the Pipe Hitter Foundation and Joshua

 12        Mast and his family for the money, correct?

 13             A         For distributing the funds, correct.

 14             Q         And in effect, you were acting as an agent

 15        for the purpose of transmitting the money that you

 16        got from the Pipe Hitter Foundation to the grantees,

 17        right?

 18                       MR. HARDING:       Objection.       Calls for a legal

 19        conclusion.

 20                       MR. YERUSHALMI:        Object.

 21                       MR. POWELL:       Let's take a break.

 22                       THE VIDEOGRAPHER:         We are now off the

 23        record.       The time is 10:39 a.m.

 24                       (Recess, 10:39 a.m. - 10:54 a.m.)

 25                       THE VIDEOGRAPHER:         We are now on the

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  1        today please send 5K via ACH to Jonathan Mast."                      Do

  2        you see that?

  3             A         Yes, sir.

  4             Q         Did you receive $5,000 from the Pipe Hitter

  5        Foundation on or after May the 19th?

  6             A         After, yes, sir.

  7             Q         Do you recall when the money came in?

  8             A         I think it was about five or six days.

  9             Q         So May the 19th was a Friday.              Would it

 10        have been some time in the following week?

 11             A         Yes, sir, I think that's right.              There was

 12        a small delay where I had to follow up and they said

 13        that there was some kind of error on their end but I

 14        think that's about right.

 15             Q         And do you identify that account

 16        information on Exhibit 6 to be for your personal bank

 17        account?

 18             A         I believe it is.         I don't have the numbers

 19        memorized but I believe it is.

 20             Q         I looked up the routing number.              It is for

 21        the First National Bank in Altavista.                  Is that where

 22        you bank?

 23             A         That's me.

 24             Q         Is that account in your name only?

 25             A         Me and my wife.

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  1             Q         And you understood that the money was

  2        coming to you and to your First National Bank account

  3        from the Pipe Hitter Foundation in furtherance of the

  4        grant agreement that you had signed on May the 10th,

  5        right?

  6             A         Yes, sir.

  7             Q         And what did you do with the $5,000?

  8             A         I forwarded it to my brother.

  9             Q         How did you do that?

 10             A         Check.

 11             Q         Same day?      Soon after you got the money?

 12             A         Soon after.

 13             Q         You send all $5,000 to your brother?

 14             A         No.    I -- this is the instance where I had

 15        reimbursed myself a thousand because I had loaned him

 16        a thousand.

 17             Q         You had advanced him a thousand so then you

 18        kept a thousand of the five?

 19             A         Uh-huh.

 20             Q         And sent the four to him?

 21             A         Correct.

 22             Q         Has the Pipe Hitter Foundation sent more

 23        money to you since this initial installment of

 24        $5,000?

 25             A         No, sir.

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  1             A         Yes, sir, I think that's right.

  2             Q         And am I understanding you to say that she

  3        said they were going to put a pause on it and not

  4        send the money to you?

  5             A         Yes, sir.

  6             Q         Do you know whether the Pipe Hitter

  7        Foundation is continuing to try to raise money for

  8        your brother and his immediate family one way or the

  9        other, do you know?

 10             A         I don't know for sure but to my

 11        understanding every indication was that they were not

 12        for now.

 13             Q         Let's go back, Mr. Mast, to your first --

 14        what I think is your first communication with Dena

 15        Cruden.

 16                       MR. POWELL:       Let's mark this as Exhibit 7.

 17                       (Mast Deposition Exhibit No. 7 was marked

 18                       for identification and attached to the

 19                       transcript.)

 20        BY MR. POWELL:

 21             Q         So, Mr. Mast, you've been handed Exhibit 7

 22        which is a two-page text string starting on April the

 23        10th.      I think they are all on April the 10th.                   Do

 24        you have that in front of you?

 25             A         I do.

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  1             Q         And it starts off -- this is a text from

  2        Dena Cruden to you and she says, "Good morning

  3        Jonathan.       My name is Dena Cruden and I am the

  4        executive director for the Pipe Hitter Foundation."

  5        Do you see that?

  6             A         Yes, sir.

  7             Q         And then she continues and says, "May I

  8        call you today at 10 p.m. Pacific Standard Time as we

  9        have been speaking with your brother Joshua.                    Thank

 10        you, Dena."        Do you see that?

 11             A         Yes, sir.

 12             Q         Would this be your first contact with

 13        anybody from the Pipe Hitter Foundation, to the best

 14        of your recollection?

 15             A         That's got to be right.           Yeah, I think so.

 16             Q         So this would have come not long after your

 17        brother Joshua had advised you that you were going to

 18        be receiving a contact from the Pipe Hitter

 19        Foundation, right?

 20             A         Yeah, he informed me of that, yeah.

 21             Q         So when she says that she had been speaking

 22        with your brother Joshua, did you learn from her when

 23        that conversation began between Joshua and the Pipe

 24        Hitter Foundation?

 25             A         No, I did not ask.

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  1        Foundation payroll?

  2             A         I didn't know but I kind of presumed that.

  3        I didn't know if they were a partner or -- all I knew

  4        is the terminology that we used is our media partner.

  5             Q         And that's what you heard from Dena Cruden?

  6             A         Uh-huh.

  7                       MR. POWELL:       Let's mark this 8.

  8                       (Mast Deposition Exhibit No. 8 was marked

  9                       for identification and attached to the

 10                       transcript.)

 11        BY MR. POWELL:

 12             Q         Mr. Mast, you've been handed Deposition

 13        Exhibit 8.        You've seen this photo album before,

 14        haven't you?

 15             A         Many times, yes, sir.

 16             Q         And this is a photo album available through

 17        Google, correct?

 18             A         Yes, sir.

 19             Q         And there near the top of the first page,

 20        this is one of those instances we talked about at the

 21        top of the deposition, you see the name

 22                      right?

 23             A         Yes, sir.

 24             Q         And that's the Americanized name that your

 25        brother Joshua and Stephanie use for Baby Doe, right?

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  1              A         Correct.

  2              Q         When did you first have access to this

  3        Google photo album?

  4              A         The email I'm sure would tell me.               I think

  5        it was either 2020 or 2021.

  6              Q         Do you know who set it up?

  7              A         No.    Probably one of my -- probably one of

  8        my brothers or my sisters-in-law.

  9              Q         Do you know when it was first set up?

 10              A         No.

 11              Q         Do you recall when you first had access to

 12        it?

 13              A         As soon as it was sent to me in 2020 or

 14        2021.

 15              Q         Do you know for what purpose it was

 16        established?

 17              A         To share photos with my brother's family,

 18        particularly Joshua and Steph's family, with the rest

 19        of us.

 20              Q         Have you ever added photos to it?

 21              A         No.

 22              Q         Do you have that ability?

 23              A         I've never tried.

 24              Q         Have you ever downloaded photos from the

 25        Google photo album?

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  1             A         Yeah.

  2             Q         For what purpose?

  3             A         To have photos of my family on like

  4        devices.

  5             Q         Have you downloaded photos from the Google

  6        photo album and shared them with someone other than

  7        your family and friends?

  8             A         Yeah.     I sent some photos from this to Pipe

  9        Hitter Foundation.

 10             Q         Anybody else?        And when I say anybody else,

 11        I mean other than your immediate family and friends.

 12        You have said the Pipe Hitter Foundation is someone

 13        outside of that group to whom you have forwarded

 14        photos, right?

 15             A         If memory serves correctly, I think I

 16        sent -- I can't remember if it was me who forwarded

 17        these to Pipe Hitter and then they sent them on to

 18        OANN or if I sent them directly to OANN but they had

 19        some photos as well.

 20             Q         So by OANN you mean the One America News

 21        Network where you gave an interview in June, right?

 22             A         Yes, sir.

 23             Q         So you were aware that One America News had

 24        photos from the Google photo app before your

 25        interview took place?

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  1        any reason to disagree with that?

  2             A         What is it?

  3             Q         Well, if you look at the first page of

  4        Exhibit 8 right under the name                          will see a

  5        bunch of small --

  6             A         Oh.     It's the people who have access to the

  7        album.

  8             Q         That's what I'm asking you.

  9             A         Sure.     I don't have any reason to disagree

 10        with that.

 11             Q         Okay.     So the list of names and email

 12        addresses on Exhibit 9, from your understanding, is

 13        those people who are identified on the photo album

 14        itself?

 15             A         I never checked it, but sure.

 16             Q         So I don't want to spend too much time on

 17        this but let's just run down the list.                  I assume you

 18        obviously know the third name on the list is

 19        Stephanie Mast, your sister-in-law?

 20             A         Uh-huh.

 21             Q         Then Joshua Mast, your brother.              Who is

 22        Fran Mast?

 23             A         My great aunt.

 24             Q         Do you know who Jennifer Brothers is?

 25             A         Who?

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  1              Q      Jennifer Brothers at the top.
  2              A      I do not.
  3              Q      How about Ashley Delgado?
  4              A      No.
  5              Q      Down below Fran Mast is Flavio and
  6        Jacqueline Porta.          Do you know who they are?
  7              A      I don't.
  8              Q      Who is Bridget Mast?
  9              A      I think that is my cousin.
10               Q      Next is Lauren Mast Hershey.                 Is that
11         another cousin?
12               A      Yes.     Aunt.
13               Q      Below her name is Anna White.                 Who is she?
14               A      No idea.
15               Q      How about Dillon Throckmorton?
16               A      Also no idea.
17               Q      How about Cindy Beyer?
18               A      Huh-uh.
19               Q      Next is Emily Holmes.
20               A      No.
21               Q      Next is Eric Macrush.              Do you know who he
22         is?
23               A      I don't.
24               Q      How about Liliana Balcazar?
25               A      I don't.

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  1             Q       How about Georgia Pine K9?
  2             A       I don't know who that is.                Kacy Labuda is
  3        my cousin.
  4             Q       Beneath Kacy Labuda is an email address.
  5        Do you recognize that email address?
  6             A       Huh-uh.
  7             Q       That would be a no?             Sorry.
  8             A       No, sir.       Sorry.
  9             Q       That was one of the instructions I didn't
10         give you is uh-huh and huh-uh don't do very well on
11         the record.
12              A       Sorry.
13              Q       It's fine.        You've been doing great.             So
14         the next one is an email address bentaplace.                      Do you
15         recognize that?
16              A       Bentheplacedesign?            No, sir.
17              Q       Beneath that is battleshowers@gmail.com?
18              A       Bertieshowers.          That is my great aunt.
19              Q       Great aunt.         The next email is
20         firechuck@gmail.         Do you recognize that?
21              A       I do not.
22              Q       The next is hannonwright@gmail.                  Do you
23         know who that is?
24              A       I don't.
25              Q       Do you not know that Mr. Wright represents

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  1        your brother and sister-in-law in the state court

  2        case?

  3             A         Well, I don't recognize the email but that

  4        name rings a bell.

  5             Q         But you know that Hannon Wright is one of

  6        the lawyers representing Joshua and Stephanie?

  7             A         Well, I get the cases confused sometimes so

  8        I thought it was John Moran.

  9             Q         Mr. Moran is with McGuire Woods.               He

 10        represents your brother and sister-in-law in the

 11        federal case which is the case we're talking about

 12        here.      So beneath Mr. Wright's email do you recognize

 13        the next email?

 14             A         No.

 15             Q         How about the next one?

 16             A         No.

 17             Q         I expect you to recognize the one below

 18        that.

 19             A         That's mine.

 20             Q         That's your gmail address, correct?

 21             A         Yes, sir.

 22             Q         The one you identified at the top of the

 23        deposition.          Beneath your email who is that person,

 24        if you know?

 25             A         I don't know that person or...              My mom is

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  1             A         That's correct.

  2             Q         And the two emails beneath your mother's

  3        email, do you recognize those?

  4             A         I do not.

  5             Q         And so do you understand that the people

  6        whose names are listed on Exhibit 9 have the same

  7        access to the Google photo album that you enjoy?

  8             A         I do, yeah.

  9             Q         If you look back at the previous exhibit,

 10        Exhibit 8, I'm asking you to confirm what I think is

 11        obvious.       These photos are meant to be in

 12        chronological order; is that correct?

 13             A         I don't know.        I think so, yeah.

 14             Q         And the first several pages of Baby Doe are

 15        before she left Afghanistan, can you agree with that?

 16             A         I agree with that.

 17             Q         If you turn all the way to page nine, do

 18        you have that?

 19             A         I do.

 20             Q         And in the third row you will see a

 21        picture.       That's your sister-in-law Stephanie with

 22        Baby Doe, correct?

 23             A         That's correct.

 24             Q         And do you understand that to be a

 25        photograph taken of the two of them in the Ramstein

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  1             Q         May the 9th or May the 10th you learned

  2        what the number was?

  3             A         Yes.

  4             Q         So turn to the second page please of

  5        Exhibit 11.        So right there is you're sending to Dena

  6        some photos in chronological order of, as you say in

  7        this email               when she first came into American

  8        custody, right?

  9             A         Yes.

 10             Q         Why were you sending these to Dena?                   Did

 11        she ask for them?

 12             A         This was in reference to our text

 13        conversation earlier about photos that were

 14        appropriate for the website and fundraising.

 15             Q         So this is just a continuation of that

 16        conversation, you are now actually initiating on

 17        sending photos to her?

 18             A         Uh-huh.

 19             Q         And these are photos that you selected?

 20             A         I think so, yeah.

 21             Q         From the Google photo album?

 22             A         Yes.

 23             Q         Did she give you any criteria for selecting

 24        the photographs?

 25             A         She did not.       Just I think that all we said

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  1             A         Yep.

  2             Q         And so those were additional photos that

  3        you selected from the Google photo album to send to

  4        Dena?

  5             A         That's right.

  6             Q         For her consideration and use with the Pipe

  7        Hitter Foundation website posting?

  8             A         Yes, sir.

  9             Q         So you understood that she was going to use

 10        those in support of the fundraising campaign?

 11             A         Yes, sir.

 12                       MR. POWELL:       12, please.

 13                       (Mast Deposition Exhibit No. 12 was marked

 14                       for identification and attached to the

 15                       transcript.)

 16        BY MR. POWELL:

 17             Q         Mr. Mast, you have been handed Deposition

 18        Exhibit 12 which is a series of emails between you

 19        and Dena starting on the morning of Wednesday, May

 20        the 10th and running to Thursday, May the 11th.                      Do

 21        you see that?

 22             A         Yes, sir.

 23             Q         And there in the middle of the first page,

 24        there's an email, I don't see your name on it but

 25        it's to Dena from someone named Benjamin Nichols and

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  1               A         Are these additional or just -- I think

  2        they are, yes.

  3               Q         So you say in your email at 11:51 a.m. on

  4        the morning of May 11, you said to Dena, "Here are

  5        the photos that I was able to locate that were used

  6        in the CBS news story."               Do you see that?

  7               A         Yes.

  8               Q         And so did you pull those photos off of the

  9        Google photo album?

 10               A         I think I did.        Yes, I think I did.

 11               Q         But you knew because you had seen the CBS

 12        Morning News story that those photos had been used by

 13        CBS?

 14               A         Correct.

 15               Q         And so in your text to Dena you say that

 16        they, quote, "They are, quote, fine to share since

 17        they are already public," close quote.                    Do you see

 18        that?

 19               A         I do.

 20               Q         What was your basis for saying that in your

 21        email to Dena?

 22               A         I started thinking about it after I had

 23        sent all those photos over to her and they have a lot

 24        of -- my first instinct was just like these would be

 25        good for fundraising because it shows his family and

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  1        all that stuff, but I started thinking about it more

  2        and I was like, well, it's already got -- basically I

  3        had a second thought where I had seen a lot of photos

  4        of my family get shown in news articles that were,

  5        shall we say, not friendly towards the story of --

  6        and my brother, and I was like, well, some of those

  7        are already circulating anyway, why don't I not share

  8        anything that has my other nephews, as little as my

  9        family as possible except for Joshua and Steph and I

 10        will try to stick with ones that are already in what

 11        I consider to be public domain because presumably

 12        hundreds of thousands of people had already seen

 13        these CBS interviews, I don't know what the extent

 14        is, so I was like, well, they should be fine because

 15        these are already public.

 16             Q         Did you get any advice from anyone on your

 17        opinion that because they had already been aired on

 18        CBS they were fine to share?

 19             A         My wife.

 20             Q         Did you confer with any lawyer on that

 21        question?

 22             A         No.

 23             Q         You didn't confer with Joshua about it?

 24             A         No.

 25             Q         Or Richard?

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  1             A         Huh-uh.

  2             Q         Or any of Joshua's lawyers?

  3             A         No.

  4             Q         Or Richard's lawyer?

  5             A         No.     Again, never spoken to Richard or

  6        Josh's lawyers.

  7             Q         The next sentence you say -- and this is in

  8        your email to Dena on May 11, same exhibit we have

  9        been looking at, you say, quote, "Anything else, just

 10        please blur out for now as discussed," close quote.

 11        Do you see that?

 12             A         I remember saying that.           Yeah, I see it.

 13             Q         What did you mean by that?

 14             A         Just like if she was older, like anything

 15        that wasn't on the CBS interview, maybe blur out her

 16        face just so it would be -- so that photos that

 17        weren't already in public domain wouldn't be

 18        broadcasted.

 19             Q         And the last clause of that sentence says

 20        "as discussed."          So had you had a conversation with

 21        Dena about how to handle these photos?

 22             A         Yeah.     I remember wrestling with the

 23        concept of it and like whether I should basically

 24        change my mind after I had already sent her all the

 25        photos and I decided I did.              I asked her if I could

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  1        call."      The "we" you're referring to is you and Dena?

  2             A         Dena.

  3             Q         We talked a little bit earlier, Mr. Mast,

  4        about the One America News interview.

  5             A         Yes, sir.

  6             Q         It's correct that you gave an interview to

  7        One America News on June 11th?

  8             A         Yes, I think that was the date.

  9             Q         Who arranged that?         Sorry.     Did counsel on

 10        the phone -- I don't want to interrupt an objection.

 11                       Who arranged the interview with One America

 12        News?

 13             A         That would be what I refer to as the media

 14        team for Pipe Hitter Foundation but it would be Mary

 15        Vought.

 16             Q         Vought, V-o-u-g-h-t.

 17             A         So Mary and she has a couple of other team

 18        members that I am in communication with and I don't

 19        know which one specifically had reached out to OANN

 20        but it was them.

 21             Q         And it's true, isn't it, that several

 22        images of Baby Doe are displayed during your

 23        interview, correct?

 24             A         That is correct.

 25             Q         How did the One America News outfit get

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  1        those photos?

  2               A         I think that I sent them to the fellow who

  3        did the interview on One America News Network.

  4               Q         When you did that did you provide to One

  5        America News a copy of the protective order or were

  6        you then still not aware of the protective order?

  7               A         I did not provide one and I was not aware

  8        yet.

  9               Q         So just to be clear, I think I have this in

 10        the chronology of your testimony.                  You said that you

 11        didn't become aware of the protective order until you

 12        got it from Mr. Elliker and the cease and desist

 13        letter?

 14               A         No.    I knew that one existed but I didn't

 15        have a physical copy of one until then.                     I don't

 16        think I read the actual protective order.

 17               Q         Until you received it from Mr. Elliker in

 18        the cease and desist letter?

 19               A         Correct.

 20               Q         So the photos that showed up in the

 21        interview that you gave, they originate in the Google

 22        photo album, correct?

 23               A         That's right.

 24               Q         Whether they came from you or from Mary

 25        Vought, that's where they started and someone

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  1             A         Yes.    Most of the information came from him

  2        at the time that it occurred, correct.

  3             Q         So during this time frame, April and May of

  4        2023, Joshua knew you were in touch with the Pipe

  5        Hitter Foundation, correct?

  6             A         Yeah, I had told him that I had decided to

  7        touch base with them and partner with them.

  8             Q         Did he know in advance that you were going

  9        to be interviewed by One America News?

 10             A         No, he did not.

 11             Q         Why didn't you tell him?

 12             A         I purposely didn't tell anyone in my family

 13        because there has been a lot of, oh, politely put,

 14        negative media coverage of my family and I didn't

 15        want any repercussions to go to anybody else but me.

 16             Q         Were you aware on June 28th Joshua and

 17        Stephanie's lawyers filed in the federal court case

 18        something called a memorandum in opposition to

 19        Plaintiffs' motion to show cause?

 20             A         Yes, I think so.         Is that where the cease

 21        and desist letter gets filed with the complaint, my

 22        brother's attorney filed their response to that?

 23             Q         Let's back up a little bit.             This is not a

 24        memory quiz for you and I'm not asking you to

 25        recreate what's in the court file.

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  1        is document number 239.             It's the memorandum in

  2        opposition that McGuire Woods filed on behalf of

  3        Joshua and Stephanie on June the 28th.

  4                       So turn to the third page, please, Mr.

  5        Mast.      Looking down to the last sentence of the long

  6        paragraph that begins above the middle of the page.

  7        Are you with me?

  8             A         I am.

  9             Q         The sentence reads, "Joshua and Stephanie

 10        Mast had no knowledge that Jonathan Mast was speaking

 11        with the Pipe Hitter Foundation."                Do you see that?

 12             A         I do.

 13             Q         That's not true, is it?

 14             A         I believe speaking is referencing the stuff

 15        published on social media, the website, et cetera.

 16        So they didn't know that, what I had said, et cetera,

 17        et cetera.        They knew that I made contact with Pipe

 18        Hitter Foundation -- at least I think they did.

 19             Q         Well, you testified just a few minutes ago

 20        that you were -- that Joshua was aware in April and

 21        May that you were in contact with the Pipe Hitter

 22        Foundation, right?

 23             A         I did say that, yes.

 24             Q         So this language from this memorandum in

 25        support that I just read to you is not true, is it?

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  1             A         I would say it needs to be clarified.

  2             Q         Who is going to clarify it?             This is

  3        something filed with the court.

  4             A         That's not for me to know.            Well, it also

  5        goes on to say "until he had already done so," and

  6        that is correct.

  7             Q         Well, that's with reference to the One

  8        America News interview which you just said he didn't

  9        know about that until after the fact.

 10                       MR. FRANCISCO:        Objection.      Argumentative.

 11                       THE WITNESS:       Well, to clarify, just to be

 12        as clear as I can, the sentence itself, if you take

 13        the whole thing in context, Joshua and Stephanie Mast

 14        had no knowledge that Jonathan Mast was speaking with

 15        the Pipe Hitter Foundation or that he would speak

 16        with One America News Network until after Jonathan

 17        had already done so, and that is correct.

 18                       MR. HARDING:       He testified to that.

 19                       THE WITNESS:       I talked with them first and

 20        then informed Joshua of that.

 21        BY MR. POWELL:

 22             Q         So let's parse that sentence which is what

 23        I think you've just undertaken to do.                  Do you

 24        interpret the phrase at the end "until after Jonathan

 25        had already done so" to refer to the whole sentence?

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  1                        MR. FRANCISCO:        Objection.      This document

  2        speaks for itself.            It's a legal pleading not by

  3        Jonathan.

  4        BY MR. POWELL:

  5              Q         Let me ask it another way.            You testified

  6        just a few minutes ago that Joshua knew you were in

  7        touch with the Pipe Hitter Foundation in April and

  8        May of this year, correct?

  9              A         Well, yeah, because he had to know how I

 10        was sending him $5,000 or $4,000.

 11              Q         And you knew that he was in touch with the

 12        Pipe Hitter Foundation because he told you that

 13        someone from the Pipe Hitter Foundation was going to

 14        reach out to you.           That's the text message that you

 15        had the initial contact with Dena on April the 9th.

 16              A         Sure.     And I believe somewhere in this

 17        document says he had been put in touch with the Pipe

 18        Hitter and told them he couldn't work with them and

 19        that's why he directed them to another member of the

 20        family.

 21              Q         Right.     So you were then in contact

 22        intermittently in April and May with the Pipe Hitter

 23        Foundation and Jonathan (sic) knew about that, didn't

 24        he?

 25              A         Joshua.     Yes.

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  1        words, "Hi Dena, got a rather sensitive issue to

  2        discuss as soon as you get a brief moment."                    Do you

  3        remember that?

  4             A         Yes, I think so.

  5                       (Mast Deposition Exhibit No. 20 was marked

  6                       for identification and attached to the

  7                       transcript.)

  8        BY MR. POWELL:

  9             Q         Mr. Mast, you've just been handed

 10        Deposition Exhibit 20 by the court reporter.                    It's a

 11        multi-page text exchange between you and Dena Cruden

 12        starting on June the 14th and running until June the

 13        15th.      Do you have that in front of you?

 14             A         I do.

 15             Q         So there at the top, the first thing you

 16        say is, "Hi, hi Dena, got a rather sensitive issue to

 17        discuss as soon as you get a brief moment."                    And then

 18        it refers something on Instagram that he says Eddie

 19        may have shared.          That would be Eddie Gallagher, you

 20        believe?

 21             A         Yes, sir.

 22             Q         Without reference to the text message, do

 23        you remember what it was that caused you to initiate

 24        this text conversation with Dena on June the 14th?

 25             A         The initial cease and desist letter I

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  1        received.

  2             Q         The one from Mr. Elliker that we marked as

  3        an exhibit early on in the deposition?

  4             A         That's correct.

  5             Q         And what was it about Mr. Elliker's letter

  6        that made you want to reach out to Dena Cruden?

  7             A         As previously stated, I don't have a lot of

  8        social media platforms and so when I received the

  9        letter, it included a lot of exhibits which was --

 10        Instagram was one of them, and so on the Instagram

 11        handle, I read -- I think that's where I saw that it

 12        was Eddie's Instagram handle and so that's where I

 13        presume that was.          Hence, the text came from that.

 14             Q         And you reference the cease and desist

 15        letter there on the first page, right?

 16             A         Yeah.

 17             Q         And then skipping down in the text, you say

 18        quote, "Seeing as how that photo came from me and

 19        wasn't one of the ones that aired on CBS, thus

 20        already in the public domain, I think it would

 21        behoove us to take precaution to blur it out like the

 22        one on the Pipe Hitter's Instagram account."                    Do you

 23        see that?

 24             A         Yes.

 25             Q         So was it your intention in this text

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  1        message then to share your concern with Ms. Cruden

  2        and to have her take steps to blur out what you had

  3        seen on Mr. Gallagher's Instagram?

  4             A         Correct.

  5             Q         And that was one of the photos that you

  6        provided?

  7             A         Yes.

  8             Q         Did she do what you asked her to do?

  9             A         I think she went a step beyond and just had

 10        them remove the post altogether.

 11             Q         So if you turn to the next page of the

 12        exhibit, you will see it looks like you and she spoke

 13        that day, right?

 14             A         Yes.

 15             Q         And you've got embedded in the second page

 16        of the exhibit, are those the photos that caused your

 17        concern?

 18             A         No, not these ones.          These were the ones

 19        that were on CBS, to the best of my recollection.                    It

 20        was one where she was standing on a box that is in a

 21        different message maybe.

 22             Q         So it wasn't one of these three on the

 23        second page, it was another one?

 24             A         Yeah.     My thought process was any of the

 25        ones where she was younger in Afghanistan and

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  1        whatnot, those were fine, and anything that aired on

  2        CBS was fine, but the ones that I provided from my

  3        family access album we should probably have blurred

  4        out if we could do that.

  5             Q         And consistent with your testimony down at

  6        the bottom of the second page of this exhibit, she

  7        says, "FYI, we deleted it just to be safe," right?

  8             A         Right.

  9             Q         And you said "thank you."

 10             A         Uh-huh.

 11             Q         And then continuing on, continuing the text

 12        conversation with Dena about checking every photo,

 13        right?

 14             A         Yes.

 15             Q         And then down at the bottom of the third

 16        page you say, "Dena, I have one more photo edit

 17        request to make, I'm sorry."              Do you see that?

 18             A         Yes.

 19             Q         And you go on to say, "I basically decided

 20        that I probably shouldn't have used any recent photos

 21        of Starfish for two reasons," right?

 22             A         Uh-huh.

 23             Q         And the first one you say is retaliation

 24        and then the second one, which goes over onto the

 25        next page is, "to not give the opposition a reason to

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  1        screech that I'm breaking the protective order."                     Do

  2        you see that?

  3             A         Yes.

  4             Q         And you go on in that sentence to say,

  5        "even though I don't believe I am because I don't

  6        believe it applies to me."              Do you see that?

  7             A         I do.

  8             Q         And so did she follow your request?

  9             A         To blur out the photos?

 10             Q         Yes.

 11             A         Again, she -- I think she did with

 12        everything.        At some point they removed the whole

 13        page from their website, Instagram, et cetera, just

 14        as a safety precaution.

 15             Q         Where you say on the fourth page of Exhibit

 16        20, there in the middle of the page where you refer

 17        to the protective order and you say, quote, "even

 18        though I don't believe I am," and by that meant you

 19        didn't believe you were subject to the protective

 20        order?

 21             A         Correct.

 22             Q         What's the basis for you're having said

 23        that to Dena?

 24             A         Well, I wasn't an expert on the protective

 25        order, I just read it from when it was sent to me,

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